         Case 1:05-cv-00563-OWW-SMS Document 9 Filed 11/14/06 Page 1 of 3


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 5
 6              IN THE UNITED STATES DISTRICT COURT FOR THE
 7                     EASTERN DISTRICT OF CALIFORNIA
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 9   BENITO FEBRE,                    )    1:05-cv-00563-OWW-SMS-P
                                      )
10                   Plaintiff,       )
                                      )    FINDINGS AND RECOMMENDATION
11        v.                          )    RE DISMISSAL OF ACTION FOR
                                      )    FAILURE TO PROSECUTE AND
12   GEO GROUP INC., et al.,          )    FAILURE TO STATE A CLAIM FOR
                                      )    RELIEF
13                   Defendants.      )    (Doc. 7)
                                      )
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17        Benito Febre (“Plaintiff”) is a federal prisoner proceeding
18   pro se and in forma pauperis in this civil rights action pursuant
19   to Bivens v. Six Unknown Named Agents of Federal Bureau of
20   Narcotics, 403 U.S. 388 (1971).      The matter was referred to a
21   United States Magistrate Judge pursuant to 28 U.S.C.
22   § 636(b)(1)(B) and Local Rule 72-302.
23        On August 1, 2006, the Court issued an Order dismissing
24   Plaintiff’s Complaint and requiring Plaintiff to either file an
25   Amended Complaint curing the deficiencies identified therein OR
26   otherwise notify the Court in writing of his wish to voluntarily
27   dismiss the case, within thirty (30) days from the date of
28   service of that Order.    On August 15, 2006, the Order served on
         Case 1:05-cv-00563-OWW-SMS Document 9 Filed 11/14/06 Page 2 of 3


 1   Plaintiff was returned by the U.S. Postal Service as
 2   undeliverable.   A notation on the envelope indicated: Return to
 3   Sender - Inmate Gone.
 4        Pursuant to Local Rule 83-183(b), a party appearing in
 5   propria persona is required to keep the Court apprised of his or
 6   her current address at all times.      Local Rule 83-183(b) provides,
 7   in pertinent part:
 8             If mail directed to a plaintiff in propria
               persona by the Clerk is returned by the U.S.
 9             Postal Service, and if such plaintiff fails
               to notify the Court and opposing parties
10             within sixty (60) days thereafter of a
               current address, the Court may dismiss the
11             action without prejudice for failure to
               prosecute.
12
13   In the instant case, more than sixty (60) days have passed since
14   Plaintiff's mail was returned, and he has not notified the Court
15   of a current address.
16        In determining whether to dismiss an action for lack of
17   prosecution, the Court must consider several factors: (1) the
18   public’s interest in expeditious resolution of litigation; (2)
19   the Court’s need to manage its docket; (3) the risk of prejudice
20   to the Defendants; (4) the public policy favoring disposition of
21   cases on their merits; and, (5) the availability of less drastic
22   sanctions.   Henderson v. Duncan, 779 F.2d 1421, 1423 (9th Cir.
23   1986); Carey v. King, 856 F.2d 1439 (9th Cir. 1988).       The Court
24   finds that the public’s interest in expeditiously resolving this
25   litigation and the Court’s interest in managing the docket weigh
26   in favor of dismissal.    The Court cannot hold this case in
27   abeyance indefinitely based on Plaintiff’s failure to notify the
28   Court of his address.    The third factor, risk of prejudice to the

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          Case 1:05-cv-00563-OWW-SMS Document 9 Filed 11/14/06 Page 3 of 3


 1   Defendants, also weighs in favor of dismissal, since a
 2   presumption of injury arises from the occurrence of unreasonable
 3   delay in prosecuting an action.       Anderson v. Air West, 542 F.2d
 4   522, 524 (9th Cir. 1976).       The fourth factor -- public policy
 5   favoring disposition of cases on their merits -- is greatly
 6   outweighed by the factors in favor of dismissal discussed herein.
 7   Finally, given the Court’s inability to communicate with
 8   Plaintiff based on Plaintiff’s failure to keep the Court apprised
 9   of his current address, no lesser sanction is feasible.
10            Accordingly, the Court HEREBY RECOMMENDS that this action be
11   DISMISSED for Plaintiff's failure to prosecute and because the
12   Complaint fails to state a claim for relief.
13            These Findings and Recommendation are submitted to the
14   United States District Judge assigned to the case, pursuant to
15   the provisions of Title 28 U.S.C. § 636(b)(l).        Within fifteen
16   (15) days after being served with these Findings and
17   Recommendation, any party may file written Objections with the
18   Court and serve a copy on all parties.       Such a document should be
19   captioned "Objections to Magistrate Judge's Findings and
20   Recommendation."        Any Reply to the Objections shall be served and
21   filed within ten (10) days after service of the Objections.             The
22   parties are advised that failure to file Objections within the
23   specified time may waive the right to appeal the District Court's
24   Order.      Martinez v. Ylst, 951 F.2d 1153 (9th Cir. 1991).
25   IT IS SO ORDERED.
26   Dated:     November 14, 2006            /s/ Sandra M. Snyder
     icido3                           UNITED STATES MAGISTRATE JUDGE
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